                                    Ex. D535-6 Filed 04/24/23 Page 1 of 4
         Case 1:21-mi-55555-JPB Document



· · · · IN THE UNITED STATES DISTRICT COURT
· · · · FOR THE NORTHERN DISTRICT OF GEORGIA
· · · · · · · · ·ATLANTA DIVISION



IN RE GEORGIA SENATE BILL 202

· · · · · · · · · · · · · · · · · ·MASTER CASE
· · · · · · · · · · · · · · · · · ·FILE NUMBER
· · · · · · · · · · · · · · · · · ·1:21-MI-55555-JPB
________________________________


· · · · · · ·VIDEOCONFERENCE VIDEOTAPED

· · · · · · · ·30(B)(6) DEPOSITION OF



· · · · · · ·ATHENS-CLARKE COUNTY BOARD

· · · · ·OF ELECTIONS & VOTER REGISTRATION

· · · · · · ·THROUGH CHARLOTTE SOSEBEE




· · · · · · · · ·September 23, 2022

· · · · · · · · · · ·10:05 a.m.



· · · · · · · · · One Press Place

· · · · · · · · · · ·Suite 200

· · · · · · · · · Athens, Georgia

· · · · ·Tom Brezina, CRR, RMR, CCR-B-2035



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              Case 1:21-mi-55555-JPB Document 535-6 Filed 04/24/23 Page 2 of 4
           In Re: Georgia Senate Bill 202             30(B)(6) Charlotte Sosebee 09/23/2022

                                                                                 Page 151
02:21:35    ·1· · · · Q· · · ·And how far in advance of each election

02:21:37    ·2· ·are the poll workers trained to conduct their

02:21:41    ·3· ·activities on that particular Election Day?

02:21:46    ·4· · · · A· · · ·We try to train our poll workers about

02:21:50    ·5· ·two weeks in advance of an election, so we usually

02:21:56    ·6· ·try to not be training somebody two weeks before the

02:22:00    ·7· ·election.· So there's training going on probably a

02:22:02    ·8· ·month before the election.· Yeah, about a month.

02:22:14    ·9· · · · · · · · MS. HAMILTON:· I'd like to go off the

02:22:15    10· · · · · record for just two minutes.· Just want to

02:22:17    11· · · · · confer with --

02:22:19    12· · · · · · · · THE VIDEOGRAPHER:· Sure.· Going off the

02:22:19    13· · · · · record at 2:22.

02:22:21    14· · · · · · · · (A recess was taken.)

02:27:16    15· · · · · · · · THE VIDEOGRAPHER:· Going back on the

02:27:16    16· · · · · record at 2:27.

02:27:20    17· ·BY MS. HAMILTON:

02:27:21    18· · · · Q· · · ·I'd like to ask just a few more

02:27:24    19· ·specific questions about line relief and line

02:27:27    20· ·management.

02:27:28    21· · · · A· · · ·Okay.

02:27:29    22· · · · Q· · · ·So in your opinion is there a

02:27:31    23· ·difference in line management if an individual is

02:27:36    24· ·providing line relief outside of the 150-foot buffer

02:27:41    25· ·zone but within 25 feet of a voter?

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              Case 1:21-mi-55555-JPB Document 535-6 Filed 04/24/23 Page 3 of 4
           In Re: Georgia Senate Bill 202             30(B)(6) Charlotte Sosebee 09/23/2022

                                                                                 Page 152
02:27:48    ·1· · · · A· · · ·No.· I wouldn't have a problem with

02:27:50    ·2· ·that.· Yeah.

02:27:53    ·3· · · · Q· · · ·And your office, would there be any

02:27:56    ·4· ·different ways that they have to go about managing

02:27:59    ·5· ·that particular area?

02:28:04    ·6· · · · A· · · ·No.· Just making sure that it --

02:28:06    ·7· ·they're beyond the 150 feet would be sufficient.

02:28:12    ·8· · · · Q· · · ·So could that area be on the sidewalk?

02:28:14    ·9· · · · A· · · ·Yes.

02:28:20    10· · · · Q· · · ·Is there any evidence of, you know,

02:28:21    11· ·problems or complaints with line relief activities

02:28:25    12· ·happening outside of the 150-foot buffer but within

02:28:30    13· ·25 feet of voters?

02:28:33    14· · · · A· · · ·Not that I'm aware of.

02:28:37    15· · · · Q· · · ·And as long as, you know, that line

02:28:41    16· ·relief is happening well away from the area outside

02:28:43    17· ·of the polling entrance, is that something that your

02:28:46    18· ·office would be -- find manageable?

02:28:49    19· · · · A· · · ·Yes.

02:28:58    20· · · · Q· · · ·So now I'd like to pivot to just kind

02:29:01    21· ·of summing up a lot of the things that we've spoken

02:29:03    22· ·about in going over these provisions and just

02:29:10    23· ·getting your last -- your last thoughts on them.

02:29:13    24· ·So, you know, now you've answered questions about,

02:29:17    25· ·you know, over half a dozen provisions of SB 202.

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              Case 1:21-mi-55555-JPB Document 535-6 Filed 04/24/23 Page 4 of 4
           In Re: Georgia Senate Bill 202             30(B)(6) Charlotte Sosebee 09/23/2022

                                                                                 Page 261
05:34:12    ·1· · · · · · · · · ·C E R T I F I C A T E

05:34:12    ·2

05:34:12    ·3· ·STATE OF GEORGIA· ·)

05:34:12    ·4· ·COUNTY OF GWINNETT )

05:34:12    ·5

05:34:12    ·6· · · · · · · · I hereby certify that the foregoing

05:34:12    ·7· · · · transcript was taken down, as stated in the

05:34:12    ·8· · · · caption, and the proceedings were reduced to

05:34:12    ·9· · · · typewriting under my direction and control.

05:34:12    10· · · · · · · ·I further certify that the transcript

05:34:12    11· · · · is a true and correct record of the evidence

05:34:12    12· · · · given at the said proceedings.

05:34:12    13· · · · · · · ·I further certify that I am neither a

05:34:12    14· · · · relative or employee or attorney or counsel to

05:34:12    15· · · · any of the parties, nor financially or

05:34:12    16· · · · otherwise interested in this matter.

05:34:12    17· · · · · · · ·This the 5th day of October,

05:34:12    18· · · · 2022.

05:34:12    19

05:34:12    20

05:34:12    21

05:34:12    22

05:34:12    23· · · · · · · · · · · ·________________________________
05:34:12    · · · · · · · · · · · · · ·THOMAS R. BREZINA, B-2035
05:34:12    24

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